                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

CHINA PETROCHEMICAL DEVELOPMENT
CORPORATION, individually and on behalf of
PRAXAIR CHEMAX SEMICONDUCTORS
MATERIALS COMPANY LIMITED

                       Plaintiff,

                       v.

PRAXAIR, INC., ANNE ROBY, JOHN PANIKAR,
                                                          Civil Action No. 3:17-cv-2005-SRU
VERNON THAD EVANS, JOYCE CHEN, YU
LING SHIEH, MEI LU, WILLIAM PEARCE,
STEVE RIDDICK, JAMES WILLIAM
                                                          March 23, 2021
SHAUGHNESSY, TOM SCHULTE, MARK
JOSEPH MURPHY and STEVE ANGEL,

                       Defendants,

                       and

PRAXAIR CHEMAX SEMICONDUCTORS
MATERIALS COMPANY LIMITED,

                       Nominal Defendant.

               MOTION TO DISMISS FOR PLAINTIFF’S FAILURE TO
           PROSECUTE AND FAILURE TO COMPLY WITH COURT ORDER

       Pursuant to Federal Rule of Civil Procedure 41(b), Defendants move to dismiss the

above-captioned action for Plaintiff’s failure to prosecute and failure to comply with this Court’s

Order dated January 26, 2021 (“Order”). In its Order, the Court directed Plaintiff, China

Petrochemical Development Corporation (“CPDC”), to “commence an arbitration on the claims

at issue in this suit within thirty days of this order,” and stated that “CPDC’s failure to do so

will result in dismissal for failure to prosecute under Rule 41(b).” See ECF No. 105 at 7

(emphasis in original). CPDC has failed to commence an arbitration in the nearly two months

since the Order was entered, and accordingly, Defendants respectfully request that the Court
dismiss the action pursuant to Rule 41(b). See Fed. R. Civ. P. 41(b) (“If the plaintiff fails to

prosecute or to comply with these rules or a court order, a defendant may move to dismiss the

action or any claim against it.”).

Dated: March 23, 2021

                                                      BRACEWELL LLP

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this date, a copy of the foregoing was filed electronically. Notice

of this filing will be sent via e-mail to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s system.



        Dated at New York, New York this 23rd day of March, 2021.



                                                        /s/ Rachel B. Goldman
                                                        Rachel B. Goldman
